   Case 20-32181-KLP                      Doc 615          Filed 07/15/20 Entered 07/15/20 13:30:59                                                      Desc Main
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United States Bankruptcy Court for the District OF VIRGINIA

                                                             WITHDRAWAL OF CLAIM


                    Debtor Name and Case Number:                    Chinos Holdings, Inc.
                                                     Sang-Myung Bang
                                                     126-13,Sandangupyeong-Gil, Nangsan-
                          Creditor Name and Address:
                                                     Myeon, Iksan-City, Jeollabuk-do Province,
                                                     54524, South Korea
                     Court Claim Number (if known):                 11
                                          Date Claim Filed:         May 7, 2020
                          Total Amount of Claim Filed:              $839,106.57
I, the undersigned, am the above‐referenced creditor, or an authorized signatory for the above‐referenced
creditor. I hereby withdraw the above‐referenced claim and authorize the Clerk of this Court, or their
duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above‐
referenced Debtor.
                                                                                                                        디지털 서명인:Sang-Myung, Bang


      July 14,2020
Dated:__________________________
                                                                                             Sang-Myung, Bang
                                                                               Signature________________________________
                                                                                                                        DN:C=KR, E=kayla@hijewel.co.kr, OU="HI JEWEL CO.,
                                                                                                                        LTD", O="HI JEWEL CO.,LTD.", CN="Sang-Myung,
                                                                                                                        Bang"
                                                                                                                        날짜:2020.07.15 23:55:46 +09:00




                                                                                                  Sang-Myung Bang
                                                                               Print Name:______________________________
                                                                                                          CEO / PRESIDENT
                                                                               Title (if applicable):________________________



                                                                      DEFINITIONS
Debtor
The person, corporation, or other entity that has filed a bankruptcy case is called the debtor.

Creditor
A creditor is any person, corporation, or other entity to which the debtor owed a debt.

Proof of Claim
A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a
creditor (the amount of the creditor’s claim).

                                    ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM
Court, name of Debtor and Case Number:
Fill in the name of the federal judicial district where the bankruptcy was filed (for example, Central District of California), the name of the debtor in the
bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near the top of the notice.

Information about Creditor:
Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim form.

Information identifying the Claim that is to be withdrawn:
Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be withdrawn

Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power of attorney, if
any).


This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed or, if applicable, with
their duly appointed Claims Agent as per any procedure approved by the court in the above‐referenced bankruptcy
proceeding.
